Case 1: 05- --Cr 10024- .]DT Document 17 Filed 05/25/05 Page 1 of 3 /Fé{age|D 8

 
   

IN THE UNITED sTATEs DIs'rRIcT coURT 05/5(4? 0
FoR THE wEsTERN DISTR:ccT oF TENNESSEE ` "€
EASTERN DIvIsION _.
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UNITED STATES OF AMERICA, Criminal NO.

Plaintiff,

V.
KEITH ROBINSON,

Defendant.

UNITED STATES’ MOTION TO CONTINUE z?éhL

  

Comes now the United States of America by nd through counsel
by Jimmy L. Croom,

     
   
    
    
   
  
  
  
   
 

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United States Attorn

Terrell In Harris,
fo the Western District of

Assistant United States Attorney,
ourt as follows:

Tennessee, and moves this Honorable

The defendant Keith Robi is scheduled for trial on
Wednesday, July 6, 2005 at Counsel for the government
is scheduled to be out f town the week of July 4 through July 8,

2005, on a pre-p ned, pre-paid Vacation.

s discussed the filing of this Motion with Ms. Diane

MOVaIlt

Smothers counsel for the defendant, who has expressed no objection

there o. The parties seek to continue the trial to a date after

8, 2005.

   
 

 

 

 

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l-L_ L[G"> ' * i_.i VE_.` James D. Todd

U.S` District Judge

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Case 1:05-cr-10024-.]DT Document 17 Filed 05/25/05 Page 2 of 3 Page|D 19

WHEREFORE, for the grounds set forth above, the government

respectfully requests that the trial be reset to a date after July
8, 2005.

Respectfully submitted,

Jimmy L. Croom

Assistant United States Attorney
109 South Highland, Suite 300
Jackson, Tennessee 38301
731-422-6220 (TN. Bar NO. 12040)

By.”©( %£;W

d y L. `room
ss'stant United States Attorney

CERTIFIC OF SERVICE
I, Jimmy L. Croom, Assistant United States Attorney for the
Western District of Tennessee, hereby certify that a copy of the

foregoing has been mailed, first class postage pre-paid, to:

Ms. Diane Smothers
Counsel for defendant
109 South Highland, B-B
Jackson, Tennessee 38301

'I’his QFH day of /%/¢/t/ , 2005.

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m y L. room
ss stant United States Attorney

DISTRIC COURT - WESTERN D"'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 1:05-CR-10024 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
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Ste. B-S

Jackson7 TN 38301

Jimmy L. Croom

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

